      Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 1 of 13




UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


BLACK LOVE RESISTS IN THE RUST, et al.,
individually and on behalf of a class of all others
similarly situated,

                       Plaintiffs,
                                                      No. 1:18-cv-00719-CCR
       v.

CITY OF BUFFALO, N.Y., et al.,

                       Defendants.




            PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT
              OF THEIR MOTION TO COMPEL PRODUCTION AND FOR
              SANCTIONS AGAINST DEFENDANT CITY AND AGAINST
                     ROBERT E. QUINN, ESQ. PERSONALLY
        Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 2 of 13




        Defendants put Plaintiffs in an impossible position. First, despite the specific orders of this

Court at the last hearing, Defendants have staffed this case with but a single attorney, who also has

responsibilities on numerous other cases. In addition, Defendants no longer have access to their e-

discovery vendor. Mr. Quinn evades even the most basic of discovery responsibilities and does

not commit to a “yes” or a “no” even to simple requests. These ongoing dilatory tactics have been

all too effective.

        Next, Defendants have the gall to complain that the delays are Plaintiffs’ fault, because

Plaintiffs have not yet taken many depositions, when the very reason Plaintiffs could not move

forward with depositions is Defendants’ interminable dragging out of document discovery.

        Finally, Defendants seek to benefit from their own delays by asking the Court to limit

Plaintiffs’ discovery to matters occurring prior to the filing of the amended complaint. This threat-

ens to cause the information to become stale and potentially to impede Plaintiffs’ ability to estab-

lish their entitlement to prospective injunctive relief at a trial that will occur at least three years

after the filing of the amended complaint.

        Rather than rewarding Defendants for their obstruction, this Court should order Defend-

ants to reengage their e-discovery vendor and produce the remaining documents within a tight time

frame, so that Plaintiffs may move this litigation to conclusion. And the Court should award sanc-

tions for the massive waste of time and energy Defendants have caused.

A.      The Court Should Once Again Compel Production of ECAC ESI and Should
        Award Monetary Sanctions Under Rule 37(b)(2)(C) for Defendants’ Violation
        of the Order Entered at the May 11 Status Conference.

        If there is one example that best typifies the City’s strategy to tapdance forever on every

possible discovery issue, it is ECAC ESI. Plaintiffs first sought ECAC documents in their Fourth

RFPs, served in May 2020 (ECF #66-20, Sched. B ¶ 88); the City served a boilerplate objection

and said it knew of no responsive documents (ECF #66-21). After follow-up with counsel proved
        Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 3 of 13




unfruitful (ECF #66 ¶¶ 51-53), Plaintiffs served a subpoena on ECAC in September 2020. ECAC’s

Rule 45 response (ECF #91-7), however, said that “all our materials are housed by the Buffalo

Police Department email system and computer network; we do not have administrative rights to

that system,” so it was back to the City.1

       In October 2020, Plaintiffs moved to compel on, inter alia, the Fourth RFPs (ECF ##65,

66), but the Court determined to hold that portion of the motion in abeyance (see ECF #91 at 8).

The parties’ ensuing discussions centered around negotiating what would be produced under the

categories of the ECAC subpoena (id.), and Plaintiffs limited the searches to the accounts of three

specific analysts and Mr. Giammaresi. At the May 11 Conference, the Court ordered (a) that the

searches be conducted and (b) that the documents be produced within 60 days (Tr. 5/11/21 at 30).2

       Plaintiffs reinitiated discussions on July 20, but Defendants never responded substantively,

did not do the searches, and did not produce the documents. Instead, five full months after being

ordered to search for and produce the documents, Defendants now “request the opportunity to be

heard on the cost and time period to be searched for the ECAC ESI” (ECF #115 ¶ 30).

       No.

       The time to engage in such discussions has long since passed. This issue has been on the

table vis-à-vis the City for nearly ten months now, the timeframe for production was addressed at

the Status Conference, and the Court’s order requiring production was unequivocal. Defendants


1
      It turns out that Jamie Giammaresi, the now-retired head of ECAC, was not telling the truth
      when he said that “all our materials” are in the possession of the City, because he personally
      used a non-City e-mail address (Jamie.Giammaresi@dcjs.state.ny.gov) for at least some of
      his ECAC business with the BPD (Krugman Reply Dec. ¶ 19). If the City has access to that
      e-mail account, it is within what it was ordered on May 11 to produce; if it does not, Plaintiffs
      will follow up with ECAC and/or DCJS.
2
      The Court told Defendants to come back if their vendor could not handle the searches, but
      that has not happened. In fact, it seems that Defendants are not paying their vendor and thus
      are back to doing things with quill pens by themselves (ECF #115 ¶ 36).


                                                 -2-
        Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 4 of 13




should be ordered to complete the task they have already been ordered once to do, and to do so in

a very short time frame. Plaintiffs are already entitled to monetary sanctions under Rule

37(b)(2)(C), and any further non-compliance should be the subject of issue-related or terminating

sanctions under Rule 37(b)(2)(A). Enough is enough.

B.     The Court Should Order Production of the Entire ENTCAD Database.

       A database called “ENTCAD” contains minute-by-minute details of traffic stops—a basic

subject of this action. As set forth in detail in the Reply Declaration (¶¶ 6-12), ENTCAD contains

at least two highly relevant pieces of information regarding such stops that are not present in the

Erie County CHARMS database: (a) timestamps for events during the stops and (b) whether a

summons was issued. The ENTCAD database is no doubt large, but Defendants have not claimed

burden based on size—nor could they, because physical production of even enormous databases

is a straightforward mechanical task. Defendant has asserted a possible need to redact, but

ENTCAD feeds CHARMS, and CHARMS has already been produced without redaction.

       Plaintiffs offered during the meet-and-confer to take two sample days of ENTCAD data

and work with Defendants to develop an extraction query. Mr. Quinn just said “No.” Given how

much time has passed, and in light of the clear relevance of the ENTCAD data, Plaintiffs submit

that the Court should simply order production of the entire database. If the Court is inclined to go

the sample route, however, Plaintiffs request that it place very short deadlines both on the produc-

tion of the samples and on the holding of the ensuing meet-and-confer.

C.     The Court Should Order the Additional ESI Production Plaintiffs Seek.

       As directed by the Court, Plaintiffs have taken a close look at the requests for new custo-

dians and search terms and have narrowed them as much as possible. Defendants make no specific

objections and do not engage with Plaintiffs’ arguments. They simply assert that additional

searches would be duplicative and would not produce relevant information. (ECF #115 ¶ 85)


                                                -3-
          Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 5 of 13




          Defendants assert that “a great majority of it does nothing more than reference the fact that

the Housing Unit or Strike Force did something, or that some form of ticket or summons has been

issued by the Police Department, things which happen on a routine, every day basis.” Id. ¶ 88. That

is precisely the point. Under Monell v. New York City Dept. of Social Services, 436 U.S. 658

(1978), Plaintiffs have the burden to prove that violations occurred pursuant to City policy or cus-

tom. Discovery as to the routine, every day customs and practices of the BPD is neither irrelevant

nor duplicative; it is the core of a Monell case. The additional ESI discovery should be ordered.

          New Custodians. Plaintiffs have considerably reduced the number of new custodians re-

quested—from 20 down to 7, plus others only if deposed (ECF #113 ¶ 28)—and have made a

detailed showing of the need for these custodians and the reasons why they are not duplicative of

production already made (id. ¶ 28(a)-(g)). Thus:

      •       Inspectors Robert Rosenwie and Harold McClellan served as heads of Internal
              Affairs during the relevant time period and handled dozens of complaints about
              BPD Officers’ racially biased policing, unjustified stops, and other misconduct—
              complaints that often resulted in no or little discipline (id. ¶ 28 (b), (f)). No exist-
              ing ESI custodians are part of the Internal Affairs department. Rosenwie and
              McClellan frequently handled complaints without the creation of a formal file,
              and their ESI is core discovery to establish Monell liability for the City’s deliber-
              ate indifference to the BPD’s racially discriminatory ticketing practices.
              Rosenswie was also personally involved in the destruction of a large number of
              IA files (Tr. 12/14/2020 at 7-8).
      •       Deputy Commissioner Joseph Gramaglia, the second highest officer at BPD, and
              Michael DeGeorge, Director of Communications for the City, are Monell policy-
              makers who were, among other things, directly involved with BPD’s tinted win-
              dows ticketing policies and revenue harvesting (ECF #113 ¶ 28(d), (f)). Each has
              a unique role within the City’s and BPD’s leadership structure; none of their ESI
              is duplicative.
      •       Carmen Menza was Chief of Buffalo’s E District, where the bulk of Strike Force
              checkpoints took place, but officers under his command engaged in significantly
              different ticketing patterns than did the Strike Force and the Housing Unit (id. ¶
              28(a)). None of his e-mails to and from his command will have been picked up by
              previous searches (id.).
      •       P.O. William Macy was the Community Policing Officer for the Housing Unit
              and has continued in that role since the Unit was disbanded. He wrote e-mails that


                                                    -4-
          Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 6 of 13




              discussing BPD’s ticketing practices in BMHA parking lots and revenue gener-
              ated thereby, along with the role of the Housing Unit generally (id. ¶ 28(c)). Given
              the centrality of the Housing Unit to this action and Officer Macy’s location at the
              meeting-point between the BPD and the community, it is important to look be-
              yond simply those e-mails he sent to the original ESI custodians, including any
              correspondence he may have had with BMHA officials and residents (id.).
      •       P.O. Robbin Thomas is a named defendant who participated in incidents described
              in the Amended Complaint and who was subject to multiple complaints about
              rude behavior and racial profiling during traffic stops, for which she received no
              discipline (id. ¶ 28(b)). None of the first 20 custodians was a line officer; in addi-
              tion to their substantive roles, Officers Thomas and Macy provide a narrow, lim-
              ited opportunity for Plaintiffs to have ESI from individual officers at every level
              of command.

          Astonishingly, Mr. Quinn’s Declaration never addresses any of these individuals. He

never so much as mentions their names. With respect to ESI custodians, Mr. Quinn’s Declaration

is just another example of the blue fog he has been throwing over this case for years.

          In Thomas v. City of New York, 336 F.R.D. 1, 2 (E.D.N.Y. 2020), a civil rights case against

New York City and NYPD officials, the Court rejected similarly tenuous arguments in granting an

individual plaintiffs’ motion to compel ESI searches for five additional line officers and officials.

There, the Court rejected the defendants’ argument that the additional ESI searches would “yield

no unique or non-duplicative information” because “[d]efendants offer[ed] not a modicum of proof

for this position (such as email exhibits showing that all parties were copied on the relevant emails)

or plausible explanation (such as a factual proffer that, given their roles as supervisors, these de-

fendants always emailed with each other about all employees).” Id. at 2. To the extent there was

some overlap, the court found that this did not render plaintiffs’ new ESI custodian searches “un-

reasonably cumulative or duplicative” because “[t]he mere existence of overlap and some dupli-

cation is insufficient to preclude the discovery sought.” Id. at 2-3; accord, e.g., Garcia Ramirez v.

U.S. Immigr. & Customs Enf’t, 331 F.R.D. 194, 198 (D.D.C. 2019) (compelling ESI searches for

16 additional custodians, where defendants’ opposition was mere “general statements”).



                                                   -5-
        Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 7 of 13




       Defendants’ references to the volume of material already produced are likewise beside the

point. “The mere fact that many documents have already been produced is not sufficient to estab-

lish that there are no other relevant materials to be found.” Family Wireless #1, LLC v. Automotive

Technologies, 2016 WL 2930887, at *2-4 (D.Conn. May 19, 2016). Accord Thomas, 336 F.R.D.

at 3; Garcia Ramirez, 331 F.R.D. at 198. Plaintiffs respectfully request that the Court cut through

Defendants’ blue fog and order searches of the seven ESI custodians identified above.

       Search Terms. Mr. Quinn objects to Plaintiffs’ proposed search terms on the ground that

they include overly broad terms like “housing,” “ticket,” and “summons.” (ECF #115 ¶¶ 88-90).

This objection misrepresents Plaintiffs’ considerably narrowed requests.

       Plaintiffs do not seek to have all search terms run against all custodians. There is a limited

set of “core terms” to be run for each custodian (ECF #113 ¶¶ 29, 30), with additional terms tai-

lored to a given custodian’s position in the hierarchy and role in the case. Contra Mr. Quinn,

Plaintiffs have not sought to use the search term “ticket” at all, and they seek to search “housing”

for only one custodian: Chief Menza, whose district includes the properties where the Housing

Unit focused the majority of its enforcement efforts. And Plaintiffs seek to use the term “summons”

only for Gramaglia and the two Internal Affairs leaders. Search terms that produce too many hits

can be reviewed, but Defendants’ effort to cut off the process at the outset by misrepresenting what

has been asked for is beyond the pale.

       “Only if deposed” custodians. Defendants argue that many of the “only if deposed” cus-

todians are police officers who generally do not send emails, and that in any event, their emails

are not likely to include discoverable information (ECF #115 ¶¶ 98-99). Of course, without running

the searches, Defendants have no idea what information these officers’ emails may contain.

“[L]ower-level employees may discuss execution of policies amongst themselves and with third




                                                -6-
        Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 8 of 13




parties other than their superiors.” Family Wireless, 2016 WL 2930887, at *3. The fact that these

particular custodians use less email, as Mr. Quinn argues, simply lessens the burden of conducting

the searches. Thomas, 336 F.R.D. at 2-3.

       Notices of deposition of individual witnesses routinely seek production of the witness’s

individual documents, beyond what was produced in general discovery, and the search terms here

are narrow and specific and appropriate to line officers who have been the subject of multiple

misconduct complaints and who routinely engaged in high levels of unconstitutional checkpoint

stops and ticketing, disproportionately in Black communities (ECF #113 ¶ 34). It would be unfair

and prejudicial for Plaintiffs to depose these officers without the benefit of their ESI. See, e.g.,

Scantibodies Lab’y, Inc. v. Church & Dwight Co., 2016 WL 11271874, at *38 (S.D.N.Y. Nov. 4,

2016), report and recommendation adopted, 2017 WL 605303 (S.D.N.Y. Feb. 15, 2017).

       Additional search terms for prior custodians. Plaintiffs have always stated—and this

Court has recognized—that some custodians might require more than 20 search terms (Tr. 5/11/21,

pp. 18-21). Review of the original production indicated that important new information could be

obtained about a few narrow, specific concepts (ECF #113 ¶ 35). Plaintiffs seek only three or four

new searches for the majority of prior custodians (ECF #113-11).

       Defendants’ only specific objection is to terms (relating to “stop reports,” “stop receipts,”

and school zone speed cameras) that concern events that post-date the filing of the Complaint (ECF

#115 ¶ 103). However, where (as here) Defendants have altered their practices post-filing (see id.

¶¶ 40-42), and Plaintiffs have the burden to establish ongoing constitutional violations in order to

obtain injunctive relief, Plaintiffs have a need and obligation to explore post-filing events that are

part of the pattern and practice alleged in the Amended Complaint. Post-filing events frequently

form part of the evidentiary record in cases seeking prospective injunctive relief to address ongoing




                                                 -7-
        Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 9 of 13




violations of constitutional rights. For example, Floyd v. City of New York was filed in 2008, but

the trial evidence concerned stops taking place from 2004-2012 and a detailed examination of

policies first adopted in 2011. 959 F.Supp.2d 540, 573, 600-01 (S.D.N.Y. 2013).

       Each of “stop reports,” “stop receipts,” and school zone speed cameras directly relates to

the allegations (ECF #63 ¶¶ 80-170) that the City has an ongoing policy and practice of targeting

low-income Black residents for revenue-harvesting ticketing schemes. The cameras, for example,

were installed in 2020 at the height of the Covid-19 pandemic, were disproportionally located in

Black communities, and extracted millions of dollars in traffic fines from residents of those com-

munities (ECF #113 ¶ 30(b), ECF #113-9). And the stop reports, unlike traffic tickets, do record

race and will provide evidence of racial profiling (ECF #113 ¶ 30(a), ECF #113-8). These are

appropriate subjects for discovery, responsive to existing RFPs 28, 33, and 36 (see ECF #24-1),

and the Court should order Defendants to run the requested search terms.

D.     The Court Should Order Production of Nominally Agreed Discovery by a Date Certain.

       ECAC Project File Discovery. Defendants have agreed to produce this information. The

Court should order a date by which Defendants must complete production.

       Drafts of the JAG Applications. The City’s annual applications for federal Judicial Assis-

tance Grants included narratives describing use of ECAC data and maps in determining patrol and

checkpoint locations (ECF #113 ¶¶ 12-13); drafts of the applications are likely to contain infor-

mation about contemplated strategies for assigning patrol and checkpoint locations. Reneging on

their agreement, Defendants now object that these documents are irrelevant and potentially privi-

leged—but also claim not to have found responsive documents (ECF #115 ¶¶ 57-59). Mr. Quinn’s

Declaration is conspicuously silent as to whether Defendants searched the files of Maureen Oak-

ley, the City’s Grant Officer. The City should be ordered to search for and produce the requested

information or confirm that its searches included Ms. Oakley’s files.


                                               -8-
       Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 10 of 13




       Housing Unit and Strike Force Overtime Reports. Although ostensibly agreeing to con-

tinue their search for Housing Unit/Strike Force Overtime Reports, Defendants now dispute the

relevancy and discoverability of these documents (ECF #115 ¶¶ 60-61). Discovery thus far, how-

ever, has made clear that Strike Force and Housing Unit Officers frequently received overtime to

conduct checkpoints and other traffic enforcement, and BPD officers were castigated if they issued

an insufficient number of tickets (Reply Dec. ¶ 20 & Exs. 2, 3). Relevance is indisputable. If De-

fendants conduct a proper search and certify they have produced all that can be located, that will

be the end of the matter, but that has not happened yet.

       GIVE Meeting Materials. GIVE documents are directly relevant because Defendants re-

lied on GIVE grants to identify crime hot spots and fund checkpoints as an intervention (ECF #113

¶¶ 21, 22). How these decisions were made would have been discussed at the meetings. Perhaps

multiple people attended GIVE Meetings (ECF #115 ¶¶ 69-75), but it would be a simple matter

for counsel to send an email to the relevant individuals to locate their GIVE files (to the extent

they have them) and turn over what they have. The Court should order that that be done.

       ESI Spreadsheet/Metadata: The metadata spreadsheet that Defendants produced pursuant

to court order was essentially worthless (ECF #113 ¶¶ 19-20). In the August 2021 meet-and-con-

fer, Mr. Quinn agreed to native production of any previously produced emails that had been seg-

regated at the time of the original searches. Plaintiffs did not ask for additional searches, only that

existing, segregated collections of native emails be produced (ECF #113 ¶ 20). It appears from

Mr. Quinn’s Declaration, however, that he never segregated any of the e-mails that he pdf-ed; in

other words, his “agreement” applied to a null set. If so, Plaintiffs will never have full recipient




                                                 -9-
       Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 11 of 13




lists for the City’s production prior to May 2021, notwithstanding two Court orders. This is, un-

fortunately, typical of the City’s behavior throughout discovery in this action. To prevent a recur-

rence, Defendants should be ordered to use an e-discovery vendor going forward.

E.      Mr. Quinn’s Excuses Do Not Justify His and Defendants’ Continued Vexatious
        Conduct, and They Should be Sanctioned.

        Defendants’ response to the sanctions request discounts the seriousness of this case and the

extent to which Defendants have continually flouted basic discovery obligations. Defendants’ pa-

pers do not take issue with Plaintiffs’ recitation of the historical facts constituting the endless game

of rope-a-dope this case has become. Defendants have ignored their discovery obligations and

violated orders of this Court. Sanctions against them and their counsel under Rule 37(b)(2)(C) and

37(a)(5)(A) are plainly appropriate. And sanctions against Mr. Quinn personally under 28 U.S.C.

§ 1927 are likewise the appropriate response to his pathological inability to keep his word and to

the mockery he has made of the meet-and-confer process.

        Plaintiffs hope that these sanctions will effect a change in Defendants’ behavior, but if they

do not Plaintiffs will seek entry of a default judgment. In Burke v. ITT Auto., Inc., 139 F.R.D. 24,

36 (W.D.N.Y. 1991), Judge Curtin entered a default judgment for plaintiff because “[t]his case has

been characterized by a history of inexcusable dilatory conduct by [defendant].” Accord, e.g., U.S.

Freight Co. v. Penn Central Transportation Co., 716 F.2d 954, 955 (2d Cir. 1983) (per curiam);

Bhagwanani v. Brown, 665 F.App’x 41, 43 (2d Cir. 2016); Rahman v. Red Chili Indian Cafe, Inc.,

2021 WL 50877, at *8 (S.D.N.Y. Jan. 6, 2021).

                                            CONCLUSION

        The Court should (1) enter the Proposed Order compelling discovery, (2) award Plaintiffs

their attorneys’ fees incurred in making this motion, and (3) award additional monetary sanctions

against Mr. Quinn for making a mockery of the meet-and-confer process.



                                                 -10-
      Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 12 of 13




Dated: October 26, 2021

/s/ Keisha A. Williams                       /s/ Edward P. Krugman
Joseph Keleman                               Claudia Wilner
Keisha Williams                              Edward Krugman
WESTERN NEW YORK LAW CENTER                  Anjana Malhotra
Cathedral Park Tower                         NATIONAL CENTER FOR LAW
37 Franklin Street, Suite 210                AND ECONOMIC JUSTICE
Buffalo, NY 14202                            275 Seventh Avenue, Suite 1506
Tel: (716) 828-8415                          New York, NY 10001
Fax: (716) 270-4005                          212-633-6967
jkeleman@wnylc.com                           wilner@nclej.org
kwilliams@wnylc.com                          krugman@nclej.org
                                             malhotra@nclej.org
/s/ Chinyere Ezie                            /s/ Jordan Joachim
Chinyere Ezie                                Jordan Joachim (admitted pro hac vice)
CENTER FOR CONSTITUTIONAL RIGHTS             COVINGTON & BURLING LLP
666 Broadway, 7th Floor                      620 Eighth Avenue
New York, NY 10012                           New York, NY 10018
212-614-6475                                 212-841-1000
CEzie@ccrjustice.org                         jjoachim@cov.com

                             Attorneys for Plaintiffs




                                      -11-
       Case 1:18-cv-00719-CCR Document 120 Filed 10/26/21 Page 13 of 13




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2021, the foregoing document was filed with the Clerk

of the Court and served in accordance with the Federal Rules of Civil Procedure, and/or the West-

ern District’s Local Rules, and/or the Western District’s Case Filing Rules & Instructions upon all

counsel registered through the ECF System.


                                             /s/ Edward P. Krugman




                                               -12-
